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 1                                                          The Honorable Robert S. Lasnik

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 5

 6                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WASHINGTON
 7

 8   UNIVERSAL LIFE CHURCH MONASTERY
     STOREHOUSE, a Washington non-profit
 9   corporation,                                  Case No. 2:19-cv-00301-RSL
10                                    Plaintiff,
                                                   [PROPOSED] ORDER GRANTING
11        v.                                       PLAINTIFF’S MOTION FOR
                                                   PARTIAL SUMMARY JUDGMENT
12   MAURICE KING; LEWIS KING; GLEN
     YOSHIOKA; DYLAN WALL; SARA WHITE;
13   and AMERICAN MARRIAGE MINISTRIES, a
     Washington non-profit corporation,
14
                                  Defendants.
15
     AMERICAN MARRIAGE MINISTRIES, a
16
                         Counter-Claimant and
17                        Third-Party Plaintiff,
18        v.
19   UNIVERSAL LIFE CHURCH MONASTERY
     STOREHOUSE; UNIVERSAL LIFE CHURCH
20   MONASTERY STOREHOUSE, INC.,
21                    Counter-Defendant and
                      Third-Party Defendants.
22

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     [Proposed] Order Granting Plaintiff’s                            Matesky Law PLLC
     Motion for Partial Summary Judgment– 0                       1001 4th Ave., Suite 3200
                                                                       Seattle, WA 98154
     2:19-cv-00301-RSL                                                   Ph: 206.701.0331
                                                                        Fax: 206.701.0332
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 1           This matter comes before the Court upon Plaintiff Universal Life Church Monastery

 2   Storehouse’s (“ULC Monastery”) Motion for Partial Summary Judgment (ECF No. __). The Court
 3
     has considered that Motion, the supporting Declarations of Michael P. Matesky, II (ECF No. __),
 4
     George Freeman, and Brian Wozeniak (ECF No. __), and exhibits thereto; Defendant American
 5
     Marriage Ministries’ (“AMM”) Opposition / Response (ECF No. ____) ; and ULC Monastery’s
 6
     Reply (ECF No. ____). For the following reasons, the Motion is hereby GRANTED.
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 8

 9           1.        On March 26, 2019, AMM filed seven counterclaims: (1) Trademark Infringement
10   under the Lanham Act, 15 U.S.C. § 1114; (2) Cybersquatting under the Anti-Cybersquatting
11
     Consumer Protection Act (“ACPA”), 15 U.S.C. § 1125(d); (3) False Advertising and Commercial
12
     Disparagement under the Lanham Act, 15 U.S.C. § 1125(a); (4) Violation of the Washington
13
     Consumer Protection Act (“WCPA”), RCW 19.86; (5) common law Defamation Per Se; (6)
14

15   common law Trade Libel; and (7) common law Trademark Infringement. (ECF Nos. 6, 28)

16           2.        The pleadings and undisputed facts show that AMM’s WCPA, defamation, trade

17   libel, and common law trademark infringement counterclaims are barred by the applicable statutes
18   of limitations.
19
             3.        “A statute of limitation bars plaintiff from bringing an already accrued claim after
20
     a specified period of time.” Rice v. Dow Chemical Co., 124 Wn.2d 205, 211 (Wash. 1994). A claim
21
     generally accrues when the underlying actions giving rise to the claim occur. White v. Johns-
22

23   Mansville Corp., 103 Wash.2d 344, 348 (1985).

24           4.        AMM’s counterclaims for defamation and trade libel are subject to a two-year

25   limitations period. RCW 4.16.100(1); see Eastwood v. Cascade Broad. Co., 106 Wn.2d 466, 722
26

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 1   P.2d 1295 (1986); see also GOLO, LLC v. HighYa, LLC, 310 F. Supp. 3d 499, 507 (E.D. Pa. 2018);

 2   Enigma Software Group USA, LLC v. Bleeping Computer LLC, 194 F. Supp. 3d 263, 276
 3
     (S.D.N.Y. 2016) (same).
 4
              5.     AMM’s counterclaims for defamation and trade libel accrued on November 17,
 5
     2014, when AMM alleges ULC Monastery began publishing false and defamatory statements
 6
     regarding AMM on the Americanmarriageministries.com site. ECF No. 28, ¶¶ 82, 90-93, 173,
 7

 8   178.     There is no evidence that such publication was concealed, AMM was aware of the

 9   Americanmarriageministries.com site, and should have known of such publication in the exercise
10   of reasonable diligence. In any case, AMM’s counterclaims for defamation and trade libel accrued
11
     no later than December 26, 2014, by which date AMM testified it had actual knowledge of the
12
     publication of allegedly false and defamatory statements on Americanmarriageministries.com.
13
     Matesky Decl. Ex. B at 163:3-9. Because AMM filed its defamation and trade libel counterclaims
14

15   over two years after they accrued, they are barred by the statute of limitations.

16            6.     AMM’s counterclaim for violation of the WCPA is subject to a two-year

17   limitations period to the extent it arises from the same acts underlying AMM’s defamation and
18   trade libel claims, and subject to a three-year limitations period to the extent it arises from the same
19
     acts underlying AMM’s common law trademark infringement counterclaim. See Killian v. Seattle
20
     Pub. Sch., 189 Wn.2d 447, 455 (2017) (plaintiff’s WCPA claim subsumed by “duty of fair
21
     representation” claim, subject to 2 year limitations period); see also Eastwood, 106 Wn.2d at 469
22

23   (two-year limitations period for defamation applied to false light publicity claim based on same

24   acts).

25

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 1             7.    AMM’s counterclaim for violation of the WCPA accrued no later than December

 2   26, 2014. As discussed above, by that time, AMM had actual knowledge of the acts underlying
 3
     its WCPA claim, which are the same acts underlying its defamation, trade libel, and common law
 4
     trademark infringement claims. Because AMM filed its WCPA counterclaim over four years after
 5
     it accrued, it is barred by the statute of limitations. The same result would obtain under RCW
 6
     19.86.120.
 7

 8             8.    AMM’s three federal counterclaims, Lanham Act trademark infringement,

 9   violation of the Anti-Cybersquatting Consumer Protection Act, and Lanham Act False Advertising
10   and Commercial Disparagement, are barred by laches.
11
               9.    Laches applies where (1) the claimant unreasonably delayed in filing suit, and (2)
12
     such delay caused the defendant to suffer some prejudice. Jarrow Formulas, Inc. v. Nutrition
13
     Now, Inc., 304 F.3d 829, 835 (9th Cir. 2002). Because AMM waited beyond the analogous
14

15   limitations period to file its federal counterclaims, laches is presumed to apply. Id. at 837-38.

16   AMM has not come forth with evidence sufficient to meet its burden to disprove the elements of

17   laches.
18             10.   AMM’s delay in bringing suit beyond the analogous limitations periods is
19
     presumptively unreasonable, and AMM’s own testimony shows that the reason for its delay was
20
     simply to avoid interacting with ULC Monastery. This is insufficient justification. See Grupo
21
     Gigante SA De CV v. Dallo & Co., Inc., 391 F.3d 1088, 1102 (9th Cir. 2004) (“Companies
22

23   expecting judicial enforcement of their marks must conduct an effective policing effort.”)

24             11.   AMM’s delay in bringing suit presumptively caused prejudice to ULC Monastery,

25   and AMM has not come forth with sufficient evidence to disprove such prejudice.
26

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 1          12.     AMM’s own claims and testimony show that ULC Monastery suffered prejudice in

 2   increased potential liability that would not have been at issue if AMM had filed suit promptly. See
 3
     Whittaker Corp. v. Execuair Corp., 736 F.2d 1341, 1347 (9th Cir. 1984).
 4
            13.     The undisputed evidence shows that ULC Monastery’s ability to muster evidence
 5
     to defend itself against AMM’s claims of bad faith intent, damages, and the validity of AMM’s
 6
     claimed “American Marriage Ministries” trademark has also been prejudiced by AMM’s delay in
 7

 8   filing suit. See Jackson v. Axton, 25 F.3d 884, 889 (9th Cir. 1994).

 9          14.     Summary judgment dismissing AMM’s counterclaims based on alleged misuse of
10   AMM’s claimed “American Marriage Ministries” trademark—Lanham Act and common law
11
     trademark infringement, violation of the ACPA, and Lanham Act False Advertising and
12
     Commercial Disparagement—is also appropriate, because AMM has not come forth with evidence
13
     sufficient to establish rights in its claimed “American Marriage Ministries” mark.
14

15          15.     It is AMM’s burden to prove validity of its claimed “American Marriage

16   Ministries” mark. Tie Tech, Inc. v. Kinedyne Corp., 296 F.3d 778, 783 (9th Cir. 2002). AMM’s

17   Registration No. 4887624 for the claimed “American Marriage Ministries” mark constitutes prima
18   facie evidence of validity and distinctiveness, but only as of the date of registration: January 19,
19
     2016. Id.; Zinner v. Olenych, 108 F. Supp. 3d 369, 383 (E.D. Va. 2015).
20
            16.     The survey evidence of Rhonda Harper showing that the claimed “American
21
     Marriage Ministries” mark has not obtained secondary meaning is sufficient to pierce any
22

23   presumption of validity, placing the burden back on AMM to prove distinctiveness and validity.

24   Tie Tech, 296 F.3d at 783. This burden requires an especially strong showing of secondary

25   meaning, because the claimed “American Marriage Ministries” mark is highly descriptive of
26

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 1   AMM’s services. See Filipino Yellow Pages v. Asian Journal, 198 F.3d 1143, 1151 (9th Cir.

 2   1999). AMM has not come forth with evidence sufficient to meet this burden.
 3
            17.     AMM was required to show that its claimed “American Marriage Ministries” mark
 4
     was distinctive at the time the alleged infringement and cybersquatting began. See Converse, Inc.
 5
     v. USITC, 909 F.3d 1110, 1116-17 (Fed. Cir. 2018); GoPets Ltd. v. Hise, 657 F.3d 1024, 1030 (9th
 6
     Cir. 2011). The alleged infringement and cybersquatting began no later than July 28, 2011. AMM
 7

 8   itself claimed that the alleged infringement began no later than July 12, 2014. AMM did not come

 9   forth with sufficient evidence to meet this burden.
10          18.     Summary judgment dismissing AMM’s counterclaims based on alleged misuse of
11
     AMM’s claimed “American Marriage Ministries” trademark—Lanham Act and common law
12
     trademark infringement, violation of the ACPA, and Lanham Act False Advertising and
13
     Commercial Disparagement—is also appropriate, because the undisputed facts show that ULC
14

15   Monastery’s alleged misuse is non-infringing.

16          19.     The Lanham Act does not prohibit use of a trademark as a domain name to publish

17   a commentary site regarding the claimant, without selling goods and services on the site. See
18   Bosley Medical Institute, Inc. v. Kremer, 402 F.3d 672, 676 (9th Cir. 2005). Accordingly, AMM’s
19
     trademark claims based on the Americanmarriageministries.com site fail as a matter of law.
20
            20.     The undisputed facts show that ULC Monastery use of the claimed “American
21
     Marriage Ministries” mark on the Americanmarriageministries.com site constitutes nominative
22

23   fair use. The undisputed facts show that (1) AMM is not readily identifiable without use of the

24   claimed “American Marriage Ministries” mark, (2) ULC Monastery uses only so much of the

25   claimed mark as is reasonably necessary, and (3) such use did not suggest sponsorship or
26

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 1   endorsement. Accordingly, ULC Monastery’s use of the claimed “American Marriage Ministries”

 2   mark on the Americanmarriageministries.com site constitutes nominative fair use as a matter of
 3
     law. Applied Underwriters, Inc. v. Lichtenegger, 913 F.3d 884 (9th Cir. 2019).
 4
              21.    The undisputed facts show that ULC Monastery’s use of the words “American
 5
     marriage ministries” on the GetOrdained.org and ULC.org sites is classic or descriptive fair use.
 6
     The undisputed facts show that ULC Monastery (1) is not using the words “American marriage
 7

 8   ministries” as a trademark, (2) uses the term only to describe the services of U.S.-based marriage

 9   ministries, and (3) uses the term fairly and in good faith. Accordingly, ULC Monastery’s use of
10   the words “American marriage ministries” on the GetOrdained.org and ULC.org sites constitutes
11
     fair use as a matter of law. Bell v. Harley Davidson Motor Co., 539 F.Supp.2d 1249, 1257 (S.D.
12
     Cal. 2008).
13
              22.    AMM has not come forth with evidence on which a reasonable jury could find that
14

15   a “reasonably prudent” visitor to Americanmarriageministries.com, GetOrdained.org, or ULC.org

16   is likely to be confused as to source, sponsorship, or affiliation between AMM and ULC

17   Monastery, due to ULC Monastery’s use of the words “American marriage ministries” on such
18   sites.
19
              Therefore, it is hereby ORDERED that Plaintiff’s Partial Motion for Summary Judgment
20
     is GRANTED, and each of AMM’s counterclaims is dismissed.
21

22

23            DATED this ____ day of ____________, 2020.

24
                                    ________________________________________
25                                  THE HONORABLE ROBERT S. LASNIK
                                    United States District Judge
26

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     Presented by:
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 4

 5   DATED: 6/16/2020                         s/Michael P. Matesky, II
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